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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                            )
JOHN DOE,                                   )
                                            )
               Plaintiff,                   )
                                            )
       v.                                   )         Case No. 18-cv-553 (RMC)
                                            )
THE GEORGE WASHINGTON                       )
UNIVERSITY,                                 )
                                            )
                Defendant.                  )
                                            )

                                            ORDER

                For the reasons articulated in the Memorandum Opinion issued

contemporaneously with this Order, it is hereby

                ORDERED that Plaintiff’s Motion for a Preliminary Injunction, Dkt. 6, is

DENIED; and it is

                FURTHER ORDERED that Defendant’s Motion in Limine to Preclude

Introduction of E.E.’s Phone Records, Dkt. 23, is DENIED; and it is

                FURTHER ORDERED that the Court will convene a status conference to set a

schedule for expedited discovery and briefing.



Date: April 25, 2018                                              /s/
                                                      ROSEMARY M. COLLYER
                                                      United States District Court




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